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. ADMINISTRATIVE REGULATION
405

USE OF FORCE

supersedes AR 405 (Temporary 6/23/1 11 AR 405 (Temporary, 03/03/16)
AR 405 (Tempomy 5/25/16) AR 405 s/16/16,
AR 405 (Temporary 11/3/16)

Ene¢av¢ mm 11/16/1§

z AUTHORITY: NRS 209.131, 209.161, 212.090 and 212.190
RESPONSIBILITY

l. The Warden/Division Head is responsible for the overall execution of this regulation
Direct supervision of this regulation is the responsibility of the Shift Supervisor `
(institutions/facilities) and/or the Transportation Lieutenant/Sergeant in regards to
Central Transportation Division. The Inspector General in regards to the Inspector
General’s Oflice.

2. 'l'he Warden at each institution, Central Transportation Lieutenant, the Inspector
General; shall ensure that all assigned staff is trained and have signed an
. aclmowledgement statement that they have read, know and understand this regulation
A copy of their acknowledgement shall be maintained in each staff member’s training
tile.

3. It is the responsibility of all employees who may be required to use force as part of
their duties to understand and comply with the Use of Force policy, related
procedures, use of equipment and attend and understand relevant use of force

tr . .
DEFINITIONS

Authoxized Pe_@nnel - A person who has received the prescribed NDCC training in the
application of Use of Force equipment or tactics, and whose qualifications are up-to-date.

' Any person who volunteers, is contracted by or is employed by the NDOC is authorized
to defend themselves or others &om attack. A Correctional Odicer Trainee or
Correctional Ofticer who has not completed the Basic Academy and has not passed the
Peace Oflicers Standards and Training (POST) certification exam are authorized to
defend themselves and others li'om attack. Only certified Peace Ofticers who are current
on their qualifications shall be authorized to utilize force tactics, tools, devices, weapons
or other methods authorized by the Deparnnent Director.

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\\“ . . . . .
* Great Bodrly ln]m - Great bodily injury is any bodily injury that creates a substantial
risk of death, such as but not limited to, stab wounds that cause substantial bleeding strike
vital organs or(repea;ted blow‘s to the laread)with kicks or with a blunt instrument

405.01 USE OF FQRCE GENERAL PROVISIONS

The NDOC shall operate under this use of force policy that defines staff responsibilities
and limitations concerning the use of force while still allowing discretion in the
appropriate application of force. The policy provides staff with the appropriate guidance
on the permissible Use of'Force_. lt ensures discipline is imposed for violations of the Use
of Force policy, procedures or training

It is the policy of the NDOC to authorize the use of physical force when and only to the
extent that is reasonably believed to be necessary as specilied in these rules. Staff is
authorized to use that amount of force that is objectively reasonable to overcome a threat
thereby minimizing the risk of injury to the oflicer, the threat and the public.

# At no time are staff permitted to use force for punishment, retaliation or discipline =il*

w Force shall be used only when reasonably necessary to subdue an attacker, overcome
resistance affect custody, or to gain compliance with a lawful order. It is the policy of the
vs dol ll NDOC to accomplish the educational, treatment and supervision..functions with minimal
\?*($¢_ " reliance on theuse of force. taff may use reasonable force as required in the
st performance of their duties, but unnecessary or excessive force shall not be used) If staff,
bt‘lj"‘} 9 at any/point, detennines. the situation can be resolved withoutany further use of force,
M ?1‘:;00 staff shall terminate the use of force.
All the facility Operational Procedures must conform to the provisions in this
Adrninisn'ative Regulation.

405.02 STAFF TRAINING INVOLVING USE OF FORCE

l. All personnel shall receive_training and be qualilied prior to being assigned to a

‘d»}. § position involving possibl Use of Force and being authorized to use any force related
e\“`<,\f"`na. equipment S\l¢h 88 physi restraints, firearms, projectile launchers, chemical agents
(!T\§ {"{ (CS/OC), faser or similar technology or batons. A staff member employed in

positions that are authorized to use force-related equipment shall receive annual
ret`resher and senn-annual firearms qualification training in the correct use of all
\_ equipment to maintain their established proficiency levels.

A. The application of force when using any authorized equipment must be consistent
with training or example; intentional strikes to the head or neck are n_ot consistent

\'° uaw with training r the side handle baton.) Shots to the head with 40 mm launcher are
tva z n_ot consistent with tr'aining(l'he use of carotid or choke holds is not autlronzed)
3 _. it le rr st
3. Training shall includes

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y ‘K'¢ physical Force - includes the use of physical s ength and holds (strikes i.e.
st Hand, elbow, lcnee and locks i,e. Wrist locks) except that cho holds and
H other types of physical holds m the person ii'om breathing,
(,V`“ \v»\&‘ swallowing or cutting off blood supply to the brain are not authorized ) l-wv)\ W¢F
90 o Chernical»Agents - use of departrnentally authorized chemical agents m
o Hand-held Batons - departrnentally approved batons.
o Less-lethal weapons - departrnentally approved projectile launchers that are not
likely to cause death.
o Lethal weapons - firearms capable of firing lethal rounds/projectiles.

XIO. Levels of Force:

A. Planned use of force can be used at any level in e use of force continuum.
~ X Planned use of force inciden must be videotaped outlined in this AR.
{ kQ-lealthcare staff shall be cons ted to determine if there are any contra-indicating

factors such as but not limited to the use of O/C for asthmatics or tasers on
§ inmates with other health problems or heart pacemakers prior to the planned use
>{~

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of force and documented)$ta&` involved in these incidents shall utilize protective
\ equipment An example of planned use of force is a cell exn'action. Staff are to be
seq reminded to use universal precautions equipment such as latex gloves in addition
to their other equipment -

k a. ln a planned use of force, the Incident Commander in charge shall assign a
staff member to be in@harge of recording the entire plarmed use of force lf
k time permits and a second camera is available, one staff member shall video-
record the inmate at the cell front during st_aB’s attempts to gain the inmate’s
compliance through verbal persuasion efforts and the other video~recording is
taping the planned use of force team introductions and plan by the incident
commander.

y .* The staff member assigned to recording shall ensure, prior to the start of the
- use of force, that the recording equipment has suflicient batteries and sufficient
blank recording space, such that technical issues with recording shall be

 
 
   

3,\,~§§\° minimized once recording begins. The recorder shall begin all video wording
' ' g his/her name, date, time, location and inmate name.
, o The incident commander shall describe the nature of the incident that
requires the planned use of force and the attempts to resolve the issue
without the use of force.

¢ Prior to the use of force, healthcare staff shall be contacted to determine if
there are is medical or mental health condition that would preclude the use
of any chemical agent or taser. Record on video the comments by
healthcare staff, stating his/her name If unavailable for video, lncident
Commander shall identify name of healthcare staff and the comment made
by the healthcare staff member on the recording

 

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Q
. w § d. ln addition to and apart from any surveillance footage from stationary cameras
§Ars that may exist, video footage shall also be recorded via a hand-held camera, as
follows:

or has been used, a staff member shall be directed to immediately

\1\5"°° obtain a handheld video camera and shall be ordered to the scene where
(.)F*W force has been used.

§

§ Je» lrnmediately upon arrival to the scene, the staff video recorder shall
begin recording, noting the time and date the recording begins and
identify himself7herself as video recorder. The staff video recorder

§ shall continue to take footage until the area supervisor/incident
commander decides the incident is over and instructs the staff video

§ recorder to cease recording

/..~ m`§ o As soon as the shift supervisor becomes aware that force is being used

)|c o For any breaks in recording, the recording staff member must sign back
on with the date, time and reason for the break in recording

 

X lf the Use of Force is still occurring when the staff video recorder arrives, e incidents
\]\W9 shall be recorded to capture the unfolding events while waiting for a resp nsc team, even
if through windows, fences, bars, or even if far away, etc. Staff` shall not lace

k themselves in any danger to capture the events.

Dd`\ 399 f C. The Warden/Division head shall ensure that Use of Force Operational Procedures
( § are specific on the process for the recording of Use of Force incidents and storage
490 of the video recordings

405.04 AUTHORIZATION FOR THE USE OF LESS LETHAL FORCE

“Less lethal force” may be used in the following situations:

l. Self-defense;

2. Defense of others;

3. Prevention of self-injurious behavior;

4. Maintaining order and control in a facility, including prevention of damage to state
Pl'°P¢l'fy;

5, Prevention of escape from any security level;
6. Prevention of the commission of a felony by an inmate;

405.05 LESS LETHAL FORCE

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F. Pepperball or FN 303 less lethal launcher using compressed air to launch
direct impact or chemical agents to temporarily incapacitate a threat. These
Launchers may only be deployed by trained and qualiHed Authorized
Personnel.

Decontamination ~ If chemical agents are utilized in a planned use of force or
spontaneous use of force, the inmate shall be decontaminated as soon as the inmate is in
restraints and the decontaminan'on can be conducted in a safe manner. Inmate(s) affected
shall also be seen by medical personnel as soon as practicable upon containment of
incident. The decontarnination and medical evaluation shall be documented in the
lncident Report by Supervisor handling the planned use of force

considered a choke or carotid hold.

3. Wardens shall ensure throu 0 rational Procedures wh re and how these

tools~sliall be nw ’ throughout.the institutign.

A loud and clear verbal warning or order shall be given. Verbal warnings shall be
issued before and repeated while less lethal munitions or chemical agents are being
deployed.

L\QVLQ$ (Chofe or carotid holds is{hot author§ed use of force t:chniques} A head lock is not z
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ats

lf the verbal warnings or orders fail to stop the prohibited activity, the O£ticer may
then deploy less lethal »force:tools to prevent further harm of another person or
property. Verbal warnings shall be repeated continuously while less lethal munitions
or chemical agents are being deployed. Force shall cease immediately upon gaining
compliance

The use of less than lethal force are never to be used to stop verbal abuse or other non-
threatening behavior

405.06 AUTHORIZATION FOR USE OF LETHAL FORCE

Staff has the obligation and responsibility to exercise discipline, caution, restraint and
good judgment when using potentially lethal force. Lethal force may be used upon the
reasonable belief that staff life or safety, or the life or safety of another, is in imminent
jeopardy of death or substantial bodily harm given the totality of the circumstances
known to the officer at the time of his/her action. Staff` must keep in mind that the use of
potentially lethal force presents a danger to the subject and to innocent parties. Only
trained and qualified staff are authorized to use lethal force, and only as a last resort.
O,H'icers shall consider other reasonable means of control before resorting to the use of
deadly force as time and circumstances safely permit

Lethal force is any force which carries a substantial risk that it may result in death or

serious or great bodily injury. Lethal force may be used only when inuninent jeopardy
exists regarding the following situations:

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405.08 EMERGENC¥ RESPONSE

The Nevada Department of Correction shall utilize a “plain English” notification system.
This statewide universal approach shall initiate first responders. Followed by the
secondary responders, based on initial reports. Some examples for each level are as
following: `

l. Level l, mutual combat between two imnates, isolated and contained physical
plant failure or compromise or a single disruptive inmate

1 X 2. Level 2, multiple inmate fight, weapons present, staff assault, evidence of escape

or larger scale physical plant failure or compromise

3. Level 3,;~Escape, homicide officer-involved lethal force or complete physical
plant failure or compromise

33 The Warden at each institution shall ensure the development of an Operational Procedure
that shall identify responder's/positiom the systematic lockdown, and equipment deployed
for each level. This Operational Procedure shall also include response to rural camps and
'l`ransitional Housing facilities

405.09 ESCAPE FROM SECURED PERIMETER

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lf possible prior to using firearms, an alert to the institution shall be broadcast by
radio, attempts:shall be made to apprehend or physically restrain an escapee or an
attempted escapee

If an officer observes an inmate located within the "No Man's Land," an immediate
alarm shall be sounded to initiate a response then the following command in a loud
and firm voice shall be given, "Stop or l will shoot" A second alert to the institution
shall be broadcast by radio, time permitting to alert responding staff of the possible
discharge of the weapon. lf the inmate fails to stop and no other means of stopping
the inmate is available then the officer may tire a warning shot as outlined in this
procedure

If the inmate continues toward the inner perimeter fence after verbal warnings and a
warning shot has been discharged, additional warning shots may be discharged near
the.escaping inmate in an effort to gain compliance The officer must exercise care to
prevent a possible ricochet of the warning shots. (Wardens shall designate in
operational procedures where warning shots will be discharged.)

Once an inmate has begun going over, under, or through the inner perimeter felice

(that is, feet have left the ground or crawling under or through), the following shall be
done:

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area, such as within a building it would be inappropriate to use warning shots. Verbal
commands»shall be substituted.

3; Transportation Ofiicers shall be armed with both lethal and less lethal tools in.the
event of the physical surroundings and the proximity of civilians would prevent the
use of lethal tools.

4. Oflicers are required/to cooperate with local law enforcement officials in any unusual
or emergency situation involving imnates under the custody of the Department of
Corrections.

405;11 MEDICAL CARE AFFER USE OF FORCE

l. Medical care which includes medical treatment and examinations shall be conducted
by institutional medical<staff when a Use of Force incident has occurred. When order
has been restored, the inmate(s) who has been subjected to any Use of Force shall be
examined by medical staff and provided medical care proportionate to the
individual’s injuries sustained. This examination shall be documented utilizing the
Unusual Occurrence Report form <DOC 2514. Inmates cannot refuse to be assessed,
but can refuse treatment of any injuries sustained All refusals of medical treatment
shall be documented and included in the Use of Force incident iles utilizing the
Refusal of Medical Treatment form DOC 2523. Decontamination from chemical
agents shall also be completed as soon as practical after the use of force. Reiiisal for
decontamination shall be documented on 'NDOC form 2523 - Refusal of Medical
Treatment. Photographs of the Inmate shall be completed on all Inmates who had
force used upon them regardless of injuries Copies of these photos shall be uploaded
into NOTIS and placed in the Use of Force Incident File.

2. Any staff member involved in the Use of Force sustaining injuries shall be examined
by NDOC medical staff and shall provide emergency medical care proportionate to
the individual’s injuries prior to transport to an appropriate healthcare facility. This
examination shall be documented utilizing the Unusual Occurrence Report form DOC
2514.

¥405.12 REPoR'r'rNG 0F USE oF FoRcE

ln all cases the reporting of Uses of Force MUST be accomplished as soon as practical
after the incident and before leaving the institution or going off duty. Any Use of Force
shall be reported to the shift supervisors who shall gsure, ce order has

and the invo ‘ s are laced in ` usm that written reports horn all staff
involved are completed This includes custody oflicers, institutional staff, medical staff,
volunteers or any persons that witnessed the Use of Force. `

l. These reports shall be entered into the Nevada Offender Tracking lnformation System
(NOTIS) for review by the appropriate supervisors

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5. The review panel shall review the actions of all staff members and inmate(s) involved

in the Use of Force incident, including those actions leading up to the Use of Porce,
taking into account any NOTIS incident reports surrounding the time frame of the
Use of Force, especially involving the staff member that used the force and the
inmate that had the force used upon their person.

. The review panel shell conduct in perserr, recorded interviews er en starr and

inmate(s) involved in the UseofForce. Should the panel, as part of the review, desire
to question/interview an employee involved in the use of force, the panel shall
conduct all interviews in accordance with department procedures, as well as relevant
provisions of NRS chapter 284 and 289. The panel does not have the authority to
recommend discipline

. The review panel shall evaluate the Use of Force incident and prepare a written report

on its evaluation and determination to the Warden, the Deputy Director of Operations
and Inspector General~ within ten (lO) days ii'om commencement of the Use of Force
review, to include:

Was the Use ofForcejustitied;

Was the Use of Force within policy, procedures and training of the Departrnent;
Could the Use of Force have been prevented;

Could this type of Use ofForce be prevented in the future;

!”.UCF°?

Any referral for investigation for possible disciplinary action for staff member(s)
involved in the Use of Force.

f"'l

Any recommended corrective action for staff member(s) involved in the use of
force \

G. Any recommendation for any staff member that acted with distinction in the Use
of Force; and

H. Any recommended changes or enhancements to policy, procedure or training
related to this Use of Force. -

l. Any recommended changes or enhancements to the physical structure of the area
related to this use of force

405.13 SERIO`US USE OF FORCE INCIDENT REVIEWS

1. Any Use ofForce suspected to be excessive or unnecessary shall be immediately

referred to and assigned to the Inspector General for investigation In these
circumstances the Use of Force Incident Review will not be completed.

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7. The review panel shall evaluate the Use of Force incident and prepare a written report
on its evaluation and determination to the Director and the Deputy Director of

» Operaltions within thirty (30) days from commencement of the Use of Force review,
to inc ude:

A.

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!'”

Was the Use of Force justified;

was are use ef Feree within periey, preeednree end training ofthe Depnrrnrenr;
Could the Use of Force have been prevented;

Could this type oste of Force be prevented in the iirture;

Any referral for investigation for possible disciplinary action for staff member(s)
involved in the Use of Force.

Any referral for investigation for possible corrective action for staff member(s)
involved in the Use of Force.

Any recommendation for any staff member that acted with distinction in the Use
of Force; and

Any recommended changes or enhancements to policy, procedure, or training
related to this Use of Force.

Any recommended changes or enhancements to the physical structure of the area
related to this use of force.

8. Any recommended corrective action being applied to a staff member shall be reported
to the appointing authority via a memorandum that outlines the reason for the
corrective action. A corrective action is not deemed a discipline

9. Any findings that recommend disciplinary action be taken against a staff member
shall be referred to the lnspector General and Director for their review and
appropriate response; response may include, but not be limited to official assignment
for Admim`strative Investigation.

10. Any findings that recommend a change or enhancement to a policy, procedure, or
training shall be sent to the Director and Deputy Director of Operations.

ll. Any findings that identifies that a staff member acted with distinction in the Use of
Force shall be sent to the Director and Deputy Director of Operations.

12. The review panel report and its contents are confidential and not subject to
dissemination except by order of the Director, lnspector General, or lawful court
order.

AR 405 Page 17 of 18

 

Case 3:15-cV-00499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 25 of 42

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Case 3:15-cV-00499-I\/|I\/|D-WGC Docume.nt 100 Filed 08/08/17 Pazg of42 <Zj-)

 

 

State of Nevada 5
Department of Corrections
Investigation Detail Report
For.' AG Oh‘ice
lnvestiggtion
lnvestigator: lR Number: lR-2015-NNCC-000575
Assigned Date: Occurrenee Date: 03/28/2015
Report Due Date: lA Number: lA-
Disposition Date: lnstitution: NNCC

 

 

Narrative

On March 28, 2015 at approx'rnately 2034, Correctiona| Oflicer C.Smith, Unl 5 ofhcer, requested Vra radio backup
assistance for a disruptive inmate. Sgt Roberson and Search and Escort responded to unit lnmate had struckthe
oflicer in the face. lnmate was checked by medical and placed 'nto Adm'rrstrative Segregation. Unit oflicer and one
responth oflicer completed 01 paperwork Both were seen by lnstltutional Medieal. Photos were taken of hmate
and ollicers. No oflicer released at this tine. Warden Bam was advised. Message left for AW Schreckengost Reports
to folow from oflicers. ...[MSM|TH, 03/29/2015 09:14:54] The 'nmate 'nvolved 'n this °ncident is °nmate Joseph Mizzoni
#68549 (55-29A). lnmate Mizzoni was served with a notice of classiliwtion hearing and housed °n 7A-38A lnmate
Mizzoni is on the communbi disease ist Oflicer Smith, C. was treated at CTRMC for a possb|e blood exposure
and checked for injuries as a resut of the °ncident Of|icers Samsel and Grider were treated at CTRMC for possible
blood exposure

Offender lnvolvment

[NDOC|D mendeer ' _' " "‘ 3 f ' l Pal'tlcipation
68549 MlZZONl, JOSEPH Suspec.‘r

co t§.: .........

 

 

 

 

 

 

 

 

 

Stah' lnvolvment

| Staff Name 4 z l Pamcipati°n
SHERMAN. FRANK Wmess
Comment; Shm mmand reporting 019 ...................

¢ R_emrf_$

Report Type Report Detall

lNC028 On March 28, 2015, l, Sergeant Frank Sherman, was arriv'ng at Northem Nevada Correctiona|
Center to work C-Graveyard Shilt as the Acting Shilt Lieu nant At approximately 2035 hours, a
radio wl for back-up at Unit 5 was received from Co nal ollicer Christopher Smith. Sergeant
Roberson, RMF Sergeant and SergeantJohn Hen , C-Graveyard Shilt Sergeant, responded
from Operations. l rema°ned at operations to monitor the shilt change for GGraveyard Shilt and
the phones. l began check°ng the institutional cameras to check Unit 5 for any 'rrfonnation. l was
not able to see any of the incident on camera l began checking the playback of the unit for any
possb|e 'nformation. Noth'ng was seen. lnmates were seen m'rrging 'n the w'ngs. Atthis t'me,
Sgt Crowder responded to the unit to assist
At approx'mately 2046 hours, Sgt Hen|ey advised that the hstitution would rema'n locked down
for the even'ng and the °ncident was code 4. The inmate. later identilied as Mizzoni, 68549, Unit 5
B 29 A. was being escorted to the lnfrrmary for further evaluation Alter the evaluation and photos
taken, lnmate Mizzoni was moved to Unit 7 A 38 A pend`ng reclassiliwtion and disci)li'rary. The
lnstimtional Count was delayed to complete this move.
At approx'mately 2050 hours, Sgt l-len|ey retumed to operations with Sgt Roberson and briefed
me on the 'nctdent. Search and Escort were 'n Unit 5 completing some random cel searches and
one cel that was searched was Unit 5 B 29 where lnmate Mizzoni, 68549, resides Unit 5 oflicer,
Correctional Oflicer Christopher Smih, was monitoring the Unit rotunda. lnmate Mizzoni was
becoth rate and disruptive and thcer C. Smih, wentto earn the 'nmate. As the inmate
bemme more rate, Offrcer Smih requested assistance by radio. C/O Smith was attemL'rg' to

 

 

 

 

 

 

 

Report Name: AG|DR Page 1 of 10
Reference Name: NOTlS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

MlZZONl 313: DEF EXH C - 001

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 27 of 42

 

 

 

 

State of Nevada
Department of Corrections
Investigation Detail Report
For: AG O#ice
investigation
lnvestigator: lR Number: lR-2015-NNC0000575
Asslgned Date: Occurrence Date: 03/28/2015

Report Due Date: lA Number: lA-

Disposition Date: lnstitution: NNCC
Stail’ lnvolvment

0 flew

w R_°M
place lnmate Mizzoni °nto restia'nts and had ordered the inmate to move to the wal. lnmate
Mizzoni appeared he was go'ng to comply but moved in an aggressive mannner toward Ohicer
Smith. C/O Smith used hands on force to attemptto control lnmate Mizzoni. C/O Smith radioed
for Back up at this tirne. lnmate Mizzoni was able to get loose from Oilicer Sm`th and used a
closed tistto sw'ng at the oflicer. lnmate Mizzoan closed hand struck Oflicer Smith on the right
cheek. As oflicers arrived to assist at the 'ncident the unit was secured. Wrdi lnmate Mizzoni
restrained, C/O Grider, C/O Samsel and C/O Alison escorted the °nmate to the °nfrmary for
further evaluation.
At this t'rne, Sgt. Hen|ey had to leave the 'nstitution due to a famiy emergency. Sgt Roberson
remained on post as the second supervisor and assisted with reports Sgt Roberson did assist
with completing the C»1 Paperwork for staff from this incident C/O Smith was moved to Unit 2
to complete his paperwork and C-1 paperwork for possible 'njury from the hcident An 'niv'al
evaluation was giv`ng by the institutional Medical Nurse, Stephanie Andrews. Photographs were
taken of the 'njuries of the officer at th's t°me.
Warden Baca was advised on the siuation at approx'mately 2055 hours. A message was left on
the cel phone for AW Ron Schreckengcst. At approximately 0015 hours, it was discovered that
lnmate Mizzoni had bled during the 'ncident and he was screaming he was Hep C posiive. l
found that two other oflicers with C/O Smith may have been exposed to blood borne pathogens. l
checked the Communrccble ist and did fnd lnmate Mizzoni was on it Atthis t`rne, Sgt
Roberson contacted C/O Smith and advised h°m he would be leav'ng as soon as we were able to
get C-1 completed for h'rn to take to the Carson Ta)ah@ Rggional Medical Center. The other
oflicers were identified at ClO Lee Grider an ul Samsel. To release the oflicers as soon
as possb|e, l had the 'nstitution below minimum security stafling. C/O Smith was release at
approx°mately 0100 hours. C/O Grider and C/O Samsel were released at approximately 0330
hours to complete a blood draw. l had spoken wih the Medical Department and it was unknown
as to why lnmate Mizzoni was on the List l was also advised that lnmate Mizzoni would have a
blood draw for test'ng of Hep C on Monday, March 30, 2015.

[?__StaffName ‘ l l ` , ]Participatiog, .

ANDREWS, sTEFANlE W*"e$$
comment Respond‘ng Medical Nurse

0 _RM

Report Tme Rggort Detall

USEOF On 3/28/2015 at approx 2100, lnmate Mizzoni was brought to medical for evaluation l/m
sustained a 1cm laceration above the Lt eye which requ'red cleansing and steristr"p. Dime sized
abrasion to both knees were treated wih bandaids. Smal abrasion from handcuff noted to wrist,
no treatment needed. V\tal signs were stable and l/M was released back to unit with custody. At
approx 2110 C/O Smith was brought to medical for evaluation Vlal signs were stable. Reddened
area noted to Rt cheek and temple area. No broken sk'n noted. No other ‘njuries noted. No
compla'nts of vertigo , blurred vision or headache. lnstructed C/O Smith to folow up per exposure
protocol and work comp protocol C/O Smih released back to dutv w/o anv restrictions and

 

 

 

 

 

 

Report Name: AG|DR Page 2 of 10
Reference Name: NOTlS-RPT-OR-0248
Run Date: APR-04-16 11 :07 AM

MlZZONl 313: DEF EXH C - 002

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 28 of 42 @

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State of Nevada
Department of Corrections
Investigation Detai/ Report
For: AG O#ice
investigation
lnvestigator: lR Number: lR-2015-NNC0000575
Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: lA Number: lA-
Disposition Date: lnstitution: NNCC
w
0 M
Rggort TM Rggort Detail
5. Myself and the three other oflicers departed unit 4 enroute to unit 5. Upon arrival Oflicers
Alison, Ard'nger, S.Smith, provided assistance to Otficer C.Smith, whie l began to disperse
inmates from the inmedrcte area, clear'ng the rotunda and secur°ng inmates in their cells. As
additional staff members arrived The area was secured. l then observed the escort of inmate
Mizzoni #68549. from unit 5 to unit 8 for medical evalration.
lNC028
lNCO28
[s\armam¢~ ' .' _ ‘ §§ ‘ "|:ga'jgttcrpauon ' t§ |
GR|DER, LEE Witness
C°m'"¢"¢= responding oflicer
0 £em
Regrt Tyg Report Detail
lNCO28 On 28 March 2015, l (C/O Lee Grider) was assigned to 1 Tower on C-Graves at The Northem
Nevada Correctional Center.

At Approx. 2030 hrs, l heard a back-up/statf assault cal coming from Unit 5 when l was
getting ready to relieve sw'ng shift When l arrived at Un't 5, lnmate Mizzoni, #68549, was
restrained 'n the prone position under ollicer coverage The inmate had to be moved to medical,
as he was bleed°ng from his temple. However, by cont°nu'ng to drop his weight, Mizzoni was
resistant whle staff attempted to assist him to his feet for movement to medical l stepped
forward and placed Mizzoni's right wrist 'n a rear wrist lock, whie Otlicer Hightower did the same
on the 'nmate's lett side. As Mizzoni cont'nued to drop his weight. l gave him several orders to
stand up. Mizzoni refused, necess°tat'ng Hightower and myselfto lift him to a stanth position
Once Mizzoni was on his feet, we escorted him to Unit 8-A for medical evaluation

Once the 'nmate was safely ‘n Unit 8, SGT John l-lenley (Acting Shilt Lieutenant) dismissed
me to my post l suffered a m'nor cutfrom the inmate's restra'nts to my right middle knuckle; 0-1
submitted._END OF REPORT

USEOF On 28 March 2015, l (C/O Lee Grider) was assigned to 1 Tower on C~Graves at The Northem
Nevada Correctional Center.
At Approx. 2030 hrs, l heard a back-up/staff assaul cal coming from Unit 5 when l was getting
ready to reieve sw'ng shilt. When l arrived at Unit 5, lnmate Mizzoni, #68549, was restrained 'n
the prone position under omcer coverage. The 'nmate had to be moved to medical, as he was
bleed`ng from his temp|e. However, by continu'ng to drop his weight, Mizzoni was resistant whie
staff attempted to assist him to his feet for movement to medical. l stepped forward and slid my
right hand through the crook of Mizzoni's right ann. took control of his right hand with m°ne, and
twisted his wrist 'nto a rear wrist lock As Mizzoni cont'nued to drop his weight, l gave h'rn
several orders to stand up. Mizzoni refused, necessitathg me to pul the wrist lock l had h°m in
so as to br°ng him to a stanth position Once Mizzoni was on his feet, l de-escalated my use of
force and proceeded to escort h°rn to Unit 8-A for medical evaluation

Report Name: AG|DR Page 4 of 10

Reference Name: NOTlS-RP`|'~OR-0248
Run Date: APR-04-16 11.07 AM

MlZZONl 313: DEF EXH C - 004

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 29 of 42

 

 

 

 

State of Nevada
Department of Corrections
Investigation Detail Report
For: AG Ofiice
lnvestig§tion
lnvestlgator: lR Number: lR-2015-NNCC-000575
Assigned Date: Occurrence Date: 03/28/2015

Report Due Date: lA Number: lA-
Disposition Date: lnstitution: NNCC
Stal‘i’ lnvolvment

0 iam

Rggort Tyg Rggort Detail
reported to Unit4 to assist w°dh count as Oflicers were displaced due to the 'ncident End of
Report

 

|§aff Name 4
PATCHEN. JEREN|Y
C°"*"€“f¢ Respond'ng Oflicer

¢ iaw
Report Tyge Report Detail
lNC028 On March 28, 2015 at approx'rnately 2030 whie work'ng at Norhem Nevada Correctional Center
as unit 38 oliicer. l Correctional Oflicer Patchen heard a cal for ”back up" to unit 5 over the hand
held radio. l inmed¢tley responded to uni 5. When l arrived to unit 5 the 'nmate 'nvolved was
akeady restra'ned. l stood by in case l was needed then retumed to unit 3 when l was released by
Henley. END OF REPORT

 

 

 

 

    

 

 

 

 

 

SwffNama s _ . , 11 ,, ,» y g§Mio;n
HlGHTOWER, JOEL Wrtness
C°W"a"\¢ Responding otiicer
0 iam
Report TM Report Detail
lN0028 While working my regular scheduled shift °n Unit 10A at Northem Nevada Correctional Center on

March 28, 2015, l Correctional Oflicer J. Hightower observed the folow'ng. At approx'mataly
8:34pm Unit 5 Oflicer C. Smih called for Oflicer backup on his institutional radio. When l entered
Unit 5 l observed that Oflicer Smith had marks on the right side of his face. l then observed
lnmate Joseph Mizzoni (68549) restrained with partial restraints ly'ng 'n the prone position in the
Unit 5 rotunda. lnmate Mizzoni's legs were unsecured by any restra'nts so l secured his left leg
unti Correctional Sargent J. l-lenley arrived on the scene. Sgt Hen|ey instructed Oliicer L. Grider
and l to escort lnmate Mizzoni to Unit 8A for medical evaluation as his face was bleeding. lnmate
Mizzoni was non-complant with Oflicer Grider's and my verbal orders to stand up by dropping his
body weight to the ground when we were attempt'rig tp assist h'rn to his feet. l put lnmate
Mizzonr`s left wrist °n a rear wrist lock whle Oflicer Grider and l ilted him to his feet lnmate
Mizzoni was then escorted to Un°t 8A for medical evaluation Once lnmate Mizzoni was secured

 
  

 
   
 
    

 

    

 

 

 

 

 

 

 

__ m nside UnitBA win Unit 10A XEND"OF REPORT....
SWNam° . .‘ " ' ’YYC ` aaa "
SMlTl-l, SCOTT W\tness
C°mm€\'\f= responding oflicer
0 M
Re@rt TM Report Detail
lNCO28 l C/O Scott smith was ‘n Unit 4 when l responded to Unit 5. When l got there Oflicer C. Smith
Report Name: AG|DR Page 6 of 10

Reference Name: NOTlS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

MlZZONl 313: DEF EXH C - 006

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 30 of 42

   

 

 

 

State of Nevada
Department of Corrections
lnvestigation Detail Report
For: AG Oii‘ice
lnvestig§tion
lnvestigator: lR Number: lR-2015-NNCC~000575
Assigned Date: Occurrence Date: 03/28/2015

Report Due Date: lA Number: lA-
Disposition Date: lnstitution: NNCC
Staii’ lnvolvment

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MM EL'¢D€*_¢"
assistance over the radio and l responded with Correctional Oflicer Ardinger. When Oflicer
Ard'riger and l got i'ito uni 5 Correctional Oflicer C. Smih and inmate M°zzoni were on the ground
struggling. l assisted Oflicer C. Smith by placing my left hand on Mizzoni¢',s head so he was
unable to bite or spit on the officers l also assisted by placing my right knee against Mizzonig,s
left shoulder and my right hand on his right shoulder because Mizzoni continued to struggle and
resist staff. l gave verbal commands to Mizzoni to quit resist°rig and to stop tighting. l assisted
hmate Mizzoni get to his feet and he was escorted to unit 8 A for medical treatment End of

 

 

 

Report
SMl`l'H, Cl-lRlS Victim
C°"'"¢"'= oflicer struck by lnmate
0 iaw
Rggort TM Report Detail
lNCO28 On March 28th. 2015 l Correctional Of&cer C. Smith was assigned to housing unit 5 of the

Northem Nevada Comectional Center as the only Oflicer 'n the unit At approximately 6:45pm l
was approached by inmate Hermanson (#84666) stating that he placed a kite in my mailbox with
important 'rifomiation. l then checked my maibox during the 7:00pm count and retrieved the kite.
The kite stated that there was tattoo equ'pment in the wal of Unit 5 Awing cel 2. l then called
search and escort oflicers Alson, Ard'nger, and S. Smith to assist me with cel searches to make
it appear as random searches l searched Unit 5A cel 2 and had negative results l then randomly
searched B w'ng cell 29 housing ‘nmates Mizzoni (#68549) and Deyerte (#1010262) and had
negative results. Search and Escort Oflicers then departed Unit 5 at approx'rnately 8:30pm. _
ApproximateN 10 minutes later at 8:40pm 'rimate M'noni (#68549) approached my oflice in an
aggressive manner. He smacked my door and said " C.O. Shove it up your ass" so l told inmate
Mizzoni To place his hands on the wal and that he was be'rig placed 'n restraints l ordered the
rest ofthe unitto lock down as l attempted to make a cal for assistance on the radio and was
unsuccessful due to iimate Mizzoni turning off the wall towards me with his ebow raised 'n an
attempt to stri<e me. l then assisted 'nmate Moni to the ground in an attemptto restra'n hin.
Throughout the enti'e altercation l was verbally 'nstruct‘rrg inmate Mlzzoni to "stop resisting". As l
struggled with 'nmate Mizzoni on the ground he struck me with a closed list to the right temple. l
struggled to position h°rn on the ground where he could not stri<e me aga'n l then ordered several
inmates to "get back" because my rotunda was ful of other inmates. lt was at this t`rne that l was
able to gain control of 'nmate Mizzoni and cal for backup on the radio. Search and Escort Oflicer
Ardinger was the tisttio arrive `n the unit Atthis time l was able to get wrist restra°nts onto
inmate Mizzoni. As soon as other Otiicers were able to take over restraining inmate Mizzoni l
waked out of the unit to catch my breath. l rema'ned at the front of my unti alter respond'ng
oflicers had already removed 'nmate Mizzoni from my unit l was then reieved by Search and
Escort oflicers to qo to medical for an evaluation and ii out a 0-1 form. END OF REPORT.
USEOF On March 28th. 2015 l Correctional Oflicer C. Smith was assigned to housing unit 5 of the
Northem Nevada Correctional Center as the only Oflicer 'n the unit. At approximately 6:45pm l
was approached bv 'nmate Hermanson (#84666) stamg' that he QM a kite in my mailbox with

 

 

 

Report Name: AG|DR Page 8 of 10
Reference Name: NOTlS-RF’T-OR-0248
Run Date: APR-04»16 11:07 AM

MlZZONl 313: DEF EXH C - 008

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 31 of 42 @

State of Nevada
Department of Corrections

lnvestigation Detail Report
For: AG Oh‘ice

 

 

lnvesti tion

lnvestigator: IR Number: lR-2015-NNC0000575
Assigned Date: Occurrence Date: 03/28/2015

Report Due Date: lA Number: lA-
Disposltion Date: lnstitution: NNCC

 

 

Stafl’ lnvolvment

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R_eM'M Re rt Detail

lNC028 On Mardi 281h 2015 at approx`mately 2030 l, Correctional Oflicer Gamica responded to a back up
cal on the radio to Unit 5. Upon gett'ng there lnmate Mizzioni #68548 was on the ground in
restra°nts. l assisted in secur'ng the unit and escoit'ng the 'nmate to unit 8A Upon getting to unit
8Athe medical staff determined that the °nmate was ok to move to unit 7A for hous'rig. |, along
with C/O Samsel and ClO Wyke escorted the inmate over to uni 7A and alter secur`ng the
inmate 'ri his cel lett the unit End of report

...[NGARN|CA, 04/05/2015 21 :41:03] On March 28th 2015 at approximately 2030 l, Correctional
Ofiicer Gamica responded to a back up cal on the radio to Unit 5. Upon arriving at Un°t 5. lnmate
Mizzoni #68549 was on the ground in restraints l assisted secur'ng the un°t and escorting the
lnmate Mizzoni to unit 8A for a medical evaluation The medical staff determined that the 'nmate
was ok and could be moved to Secure hous'ng Uni 7 A Along with C/O Samsel and C/O Wyke,
l escorted the 'nmate overto unit 7A and secured the nmate in cell 7A38. End of report
|sarmame.§;. ., § » Parii¢ipa¢iov W §§ |
ARD|NGER ROBERT Winess
C°ll'll'|‘|¢|'|f! R:port Wr*ef .......
l Staff Name 1 '. , l ‘ |R icipation§;p , ' " |
HlGHLlNE, MlCl-lAEL thess
comment responding officer
|§siarr Nam_e . _1 ' ll Farfiaipaf'°!!"? ' '
SAMSEL, PAUL Witness
C°"""¢"f= Responding Oflicer

 

 

 

 

 

Report Name: AG|DR Page 10 of 10
Reference Name: NOTlS-RPT-OR-0248
Run Date: APR-04-16 11.07 AM

MlZZONl 313: DEF EXH C - 010

 

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 32 of 42

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zoEPT. 2 AMD wm FH_EL§.t

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lN THE SEVENTH JUD|C|AL DlSTRlCT COURT CF THEW§]|;%'!;R CF_ NE_VADA l
lN A_ND FCR THE COUNTY OF WH|TE _

  

 

JCSEPl-l L. MlZZONl.
Plaintiff,

V.

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)
)

Defendants

Plaintiff Joseph L. Mizzoni filed his Motion Seeking Permission to Object to Joint

1 Conference Report and Obtain Court Order Medical and Video CD-Rom and Reports on lncidents of
` all Excessive Force. Defendants have objected on the basis of the administrative regulations which

y govern Ely State Prison.

Plaintiff's motion to object to the Joint Casa Conference Report is denied. Each party
is required to set forth its list of exhibits and witnesses in the Joint Case Conference Report, whether
" or not the opposing side agrees. The decision of whether the exhibits will be admitted at trial and
` whether the witnesses will be allowed to testify is reserved for either pretrial motions, pretrial
5 conferences or for trial, and is not appropriate at this time.

This court will not interfere with the administration cr the administrative regulations
" governing Ely State Prison and order the production to plaintiff of items not allowed under Prison
t regulations However, the items that plaintiff has asked to be produced are relevant or can lead to

: relevant material in this case. Plaintiff has asked for the release of his medical records to this court

 

 

for trial. Therefore, defendants are ordered to produce to this court for in camera inspection:

1. All medical records pertaining to the injuries and treatment of plaintiff resulting
from the incidents of March 5, 2007 and November 6, 2007;

2. Any and all recordings of the incidents of March 5, 2007 and November 6, 2007
whether on CD-ROM or in any other fonn; and
3. Any recording of the disciplinary hearing held on April 3, 2007.
lT lS SO ORDERED. _
Dated this 16th day of February, 2010.

M|RlAM SHEAR|NG 2 5
SEN|OR JUDGE

 

 

1CaS€ 3215-CV-OO499-|\/||\/|D-WG__C‘ DOCUm€n'[ 100 Filed 08/08/17 Page 35 Of 42 EX`Q `

 

The trial will start on November 9, 2010 and continue Tuesdays through Fridays until
concluded or by February 19, 2010

lT is so onnsnen.

cared this 16th day of February, 2010. ‘ '

 
      

lRlAM SHEAR|NG
SEN|OR JUDGE

 

Case 3:15-cV-OO499-I\/|I\/|D-WGC Document 100 Filed 08/08/17 Page 36 of 42

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ii " _. ' ' § ,- ' Do_cume 100 _Fl d0 0811§.7 e 37 of 42
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NEVADA DEPARTMENT OF ORRECPIONS
INFORMAL GRIEV CE

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NEVADA DEPARTMENT oF _CoRRECTIoNs EK'C
GRIEVANT’s sTATEMENT CoNTINuATIoN mle

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NEVADA DEPARTMENT OF CORRECTIONS

 

 

 

GRIEVANT’s sTATEMENT CoNTlNUATloN FoRM E f.~@
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GRIEVANT’S STATEMENT CONTINUATION: PG. , z OF 3

   
  
   

    

    
    
 

     

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Declaration of Ronald

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€M:

7. As the incident occurred in the rotunda, there is no video coverage and therefore
there is not any video footage of the incident of March 28, 2015.

8. To my knowledge, and in my investigation of the incident of March 28, 2015
involving Joseph Mizzoni, there is also no video footage from elsewhere in the institution
capturing any portion of the subject incident

FURTHER, l declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
foregoing is true and correct.

EXECUTED this ~S-_}'é day of December, 2016.

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